 Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 1 of 46. PageID #: 635604


                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov



                                                  Filed: May 07, 2024



Mr. Brian D. Boone
Alston & Bird
1120 S. Tryon Street
Suite 300
Charlotte, NC 28203-6818

Mr. William Herman Jordan
Alston & Bird
1201 W. Peachtree Street, N.E.
Suite 4900
Atlanta, GA 30309

                      Re: Case No. 24-3396, In re: OptumRx, Inc.
                          Originating Case No. 1:17-md-02804

Dear Counsel,

   The petition for writ of mandamus or prohibition has been docketed as case number 24-3396
with the caption listed above. If you have not already done so, you must mail a copy of the
petition to the lower court judge and counsel for all the other parties.

   Counsel for petitioner must file an Appearance of Counsel form and, if not admitted, apply
for admission to the 6th Circuit Bar by May 21, 2024. The forms are available on the court's
website.

   The district court judge to whom this petition refers has been served with this letter.

                                                  Sincerely yours,

                                                  s/Jill E Colyer for Amy E. Gigliotti
                                                  Case Management Specialist
                                                  Direct Dial No. 513-564-7012

cc: Ms. Sandy Opacich
      Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 2 of 46. PageID #: 635605
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        05/07/2024
KELLY L. STEPHENS, Clerk
                                                   24-3396
                                   CASE NO. ______


                                         IN THE
                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                    -------------------

                                  In re OptumRx, Inc.
                                  Petitioner-Defendant

                                     -------------------

                            From the United States District Court
             Northern District of Ohio, Eastern Division, Case No. 17-MD-2804

                                     -------------------

                       PETITION FOR WRIT OF MANDAMUS



    Brian D. Boone                               William H. Jordan
    ALSTON & BIRD LLP                            D. Andrew Hatchett
    Vantage South End                            ALSTON & BIRD LLP
    1120 South Tryon Street                      One Atlantic Center
    Suite 300                                    1201 West Peachtree Street NW
    Charlotte, NC 28203                          Suite 4900
    Tel.: (704) 444-1000                         Atlanta, GA 30309
    brian.boone@alston.com                       Tel.: (404) 881-7000
                                                 bill.jordan@alston.com
                                                 andrew.hatchett@alston.com



    Attorneys for Petitioner-Defendant OptumRx, Inc.
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 3 of 46. PageID #: 635606
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 4 of 46. PageID #: 635607
 Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 5 of 46. PageID #: 635608




                                          TABLE OF CONTENTS

TABLE OF AUTHORITIES ................................................................................... iii

PETITION ..................................................................................................................1

INTRODUCTION AND SUMMARY OF ARGUMENT ........................................1

ISSUE PRESENTED .................................................................................................9

STATEMENT ............................................................................................................9

STANDARD OF REVIEW .....................................................................................17

REASONS THE WRIT SHOULD ISSUE ..............................................................19

         I.        OPTUMRX HAS NO OTHER MEANS FOR OBTAINING
                   RELIEF FROM THE DISTRICT COURT’S EGREGIOUSLY
                   WRONG DECISION. .........................................................................20

         II.       OPTUMRX’S RIGHT TO THE WRIT IS CLEAR AND
                   INDISPUTABLE. ...............................................................................21

                   A.       The District Court nullified Rule 1.11(c)..................................21

                            1.        Through its government investigations, Motley
                                      Rice received confidential government information
                                      about OptumRx...............................................................22

                            2.        Motley Rice could use the information to
                                      OptumRx’s material disadvantage. ................................28

                            3.        Even the District Court suggested that without its
                                      erroneous “discovery” exception to Rule 1.11(c),
                                      Motley Rice should be disqualified. ...............................29

                   B.       The District Court’s ruling bears other marks of an abuse
                            of discretion...............................................................................30

         III.      THE WRIT IS VITAL TO PRESERVING A
                   LONGSTANDING CHECK ON THE ABUSE OF
                   GOVERNMENT POWER. .................................................................32



                                                             i
 Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 6 of 46. PageID #: 635609




CONCLUSION ........................................................................................................34

CERTIFICATE OF COMPLIANCE .......................................................................36

CERTIFICATE OF SERVICE ................................................................................37




                                                         ii
 Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 7 of 46. PageID #: 635610




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)
CASES

Allied Realty of St. Paul, Inc. v. Exchange National Bank of Chicago,
   283 F. Supp. 464 (D. Minn. 1968) ...................................................................... 30

Cheney v. United States Dist. Ct. for D.C.,
  542 U.S. 367 (2004) ................................................................................17, 21, 32

Courier-Journal v. Marshall,
  828 F.2d 361 (6th Cir. 1987) .............................................................................. 25

Dana Corp. v. Blue Cross & Blue Shield Mut. of N. Ohio,
  900 F.2d 882 (6th Cir. 1990) .............................................................................. 18

Davis v. S. Bell Tel. & Tel. Co.,
  149 F.R.D. 666 (S.D. Fla. 1993) ......................................................................... 30

Firestone Tire & Rubber Co. v. Risjord,
   449 U.S. 368 (1981) ............................................................................................ 20

Gen. Mill Supply Co. v. SCA Servs., Inc.,
  697 F.2d 704 (6th Cir. 1982) ........................................................................17, 18

General Motors Corp. v. City of New York,
  501 F.2d 639 (2d Cir. 1974) ...................................................................30, 33, 34

Gordon v. Dadante,
  2009 WL 2732827 (N.D. Ohio Aug. 26, 2009) ..............................................7, 18

Hilo Metals Co. v. Learner Co.,
   258 F. Supp. 23 (D. Haw. 1966) ......................................................................... 30

In re Am. Airlines, Inc.,
    972 F.2d 605 (5th Cir. 1992) ........................................................................18, 19

In re Am. Cable Publ’ns, Inc.,
    768 F.2d 1194 (10th Cir. 1985) .................................................................... 18, 19

In re Dresser Indus., Inc.,
    972 F.2d 540 (5th Cir. 1992) .............................................................................. 18


                                                         iii
 Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 8 of 46. PageID #: 635611




In re Mechem,
    880 F.2d 872 (6th Cir. 1989) .............................................................................. 18

In re Nat’l Prescription Opiate Litig.,
    2019 WL 1274555 (N.D. Ohio Mar. 20, 2019) ..............................................5, 27

In re Nat’l Prescription Opiate Litig.,
    2019 WL 7482137 (6th Cir. Oct. 10, 2019) ......................................................... 3

In re Nat’l Prescription Opiate Litig.,
    956 F.3d 838 (6th Cir. 2020) ............................................................................ 2, 3

In re United States,
    32 F.4th 584 (6th Cir. 2022) ............................................................................... 32

Kronberg v. LaRouche,
  2010 WL 1443934 (E.D. Va. Apr. 9, 2010) ....................................................... 26

Richardson-Merrell, Inc. v. Koller,
   472 U.S. 424 (1985) ............................................................................................ 18

Seattle Times Co. v. Rhinehart,
   467 U.S. 20 (1984) .............................................................................................. 25

United States v. Bertoli,
  994 F.2d 1002 (3d Cir. 1993) ............................................................................. 33

United States v. Villaspring Health Care Ctr., Inc.,
  2011 WL 5330790 (E.D. Ky. Nov. 7, 2011) ................................................24, 26

RULES

Federal Rule of Appellate Procedure 21(a) ............................................................... 1

Ohio Rule of Professional Conduct 1.11(c) ......................................................passim

STATUTES AND REGULATIONS

5 U.S.C. § 552 .......................................................................................................... 25

5 C.F.R. § 2635.703(b) ............................................................................................ 24

28 U.S.C. § 1651 ........................................................................................................ 1



                                                            iv
 Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 9 of 46. PageID #: 635612




5 Ill. Comp. Stat. 140/7(g) ....................................................................................... 22

D.C. Code § 2-534(a)(1) .......................................................................................... 22

Haw. Rev. Stat. § 480-18(j) ..................................................................................... 22

OTHER AUTHORITIES

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Alison Frankel, Opioids Judge Won’t Oust Motley Rice But Casts Cloud
   Over ‘Public Client’ Business, Reuters (Mar. 19, 2024) .................................... 33

Editorial Board, Double Dipping in Opioid Lawsuits,
   Wall St. J. (Jan. 1, 2024) ....................................................................................... 8

Editorial Board, The Tort Bar’s Legal Double Dipping,
   Wall St. J. (Dec. 9, 2022) ...................................................................................... 2

N.Y. State Bar Ass’n Comm. on Prof’l Ethics Op. 1169 (2019)............................. 26

N.Y. State Bar Ass’n Comm. on Prof’l Ethics Op. 1187 (2020)............................. 26

Neb. Ethics Advisory Op. for Lawyers No. 22-01 .................................................. 26

O.H. Skinner, States Hiring Outside Lawyers Need to Ask Who Else They
  Represent, Bloomberg Law (Jan. 23, 2024) ......................................................... 8

Public Client Litigation Area, Motley Rice,
  https://www.motleyrice.com/public-client (last visited Apr. 10, 2024) ............. 33

Shalina Chatlani, Taxpayers Were Overcharged for Patient Meds. Then
   Came the Lawyers., N.Y. Times (Mar. 21, 2024) ................................................ 8




                                                          v
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 10 of 46. PageID #: 635613




                                    PETITION

      OptumRx, Inc. petitions under 28 U.S.C. § 1651 and Federal Rule of

Appellate Procedure 21(a) for a writ of mandamus ordering the District Court to

disqualify Motley Rice LLC and its attorneys from all pending and future lawsuits

against OptumRx in In re National Prescription Opiate Litigation, No. 17-MD-2804

(N.D. Ohio).

            INTRODUCTION AND SUMMARY OF ARGUMENT

      With increasing regularity, State Attorneys General and local governments are

deputizing private lawyers as Special Assistant Attorneys General to investigate

businesses. The arrangement allows state and local governments to transfer litigation

risk to private lawyers while preserving those governments’ ability to seek damages

in cases they would not otherwise pursue. The private lawyers, in turn, get to cloak

themselves in government power, which allows them to secure pre-litigation

discovery and pursue claims on a contingency-fee basis without facing the

corresponding limits on personal financial benefits that normally apply to full-time

government prosecutors.

      Some private lawyers go further. They take the information gained from their

government investigations and use it in separate private contingency-fee litigation

for their and their clients’ financial benefit. That represents a grave abuse of




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Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 11 of 46. PageID #: 635614




government power. The Rules of Professional Conduct—here, Ohio Rule of

Professional Conduct 1.11(c)—prohibit the practice:

             A lawyer having information that the lawyer knows is
             confidential government information about a person
             acquired when the lawyer was a public officer or
             employee, may not represent a private client whose
             interests are adverse to that person in a matter in which the
             information could be used to the material disadvantage of
             that person.

And yet despite that longstanding ethical prohibition, there has been a rise in what

the Wall Street Journal dubbed “unholy alliance[s]” between private lawyers and

state prosecutors.1

       In the proceedings below, the District Court acknowledged those ethical

concerns but ultimately nullified Rule 1.11(c) to cleanse plaintiffs’ firm Motley Rice

from its ongoing violations of the Rule. In doing so, it distorted and disregarded the

law.

       Not long ago, this Court granted mandamus relief to other defendants in the

opioid MDL because the District Court disregarded the Federal Rules’ requirements.

In granting that relief, the Court emphasized that “[t]he rule of law applies in

multidistrict litigation under 28 U.S.C. § 1407 just as it does in any individual case.”

In re Nat’l Prescription Opiate Litig., 956 F.3d 838, 841 (6th Cir. 2020). “Within


1
 Editorial Board, The Tort Bar’s Legal Double Dipping, Wall St. J. (Dec. 9, 2022),
https://www.wsj.com/articles/the-tort-bars-legal-double-dipping-illinois-insulin-
attorney-general-plaintiff-attorneys-11669127620.

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Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 12 of 46. PageID #: 635615




the limits of those rules, of course, an MDL court has broad discretion,” but “[w]hat

an MDL court may not do . . . is distort or disregard the rules of law applicable to

each of those cases.” Id.2

      For years, OptumRx watched the opioid MDL from the sidelines; it was not

an active litigant in the MDL. But then in December 2022, the District Court “turned

its focus to resolving claims made against the PBMs.” R.5362, PageID #633140.

The court designated four bellwether cases against pharmacy benefits managers

(PBMs) OptumRx and Express Scripts and other non-PBM companies from the

same corporate families. Of the more-than 3,000 cases in the MDL, OptumRx and

Express Scripts are defendants in only 84.

      Motley Rice has represented plaintiffs in opioid lawsuits against other

defendants since the beginning of the MDL, but it did not begin representing

plaintiffs in opioid litigation against OptumRx until late 2022/early 2023. Those

representations violated Rule 1.11(c) from the start because Motley Rice previously

investigated OptumRx as government lawyers for Hawaii, the District of Columbia,

and the City of Chicago. Through that government service, Motley Rice obtained

confidential information about OptumRx that the firm could use to OptumRx’s




2
  That was not the first time that the Court expressed concern about proceedings in
the opioid MDL. See In re Nat’l Prescription Opiate Litig., 2019 WL 7482137 (6th
Cir. Oct. 10, 2019).

                                         3
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 13 of 46. PageID #: 635616




material disadvantage in opioid litigation. That violates Rule 1.11(c), so OptumRx

moved to disqualify Motley Rice from the MDL cases against OptumRx.

      The District Court acknowledged that Motley Rice was a “public officer” in

those government investigations because the firm “served government subpoenas”

on OptumRx and “gained access to information pursuant to governmental

authority.” R.5362, PageID #633142. It also agreed that Motley Rice was

representing “private client[s]” in the MDL. Id. at PageID #633142–633143. The

court also recognized that Motley Rice’s conduct “pose[d] a serious ‘risk that power

or discretion vested in [Motley Rice] might be used for the special benefit of [their

private] client,’ or create a conflict of interest.” Id. at PageID #633159. The District

Court agreed that Motley Rice “needs to adhere to all the same rules to which

government lawyers are subject” and warned “Motley Rice and all other law firms

[to] carefully take this into account going forward.” Id. at PageID #633144. The

court even said that it “frown[ed] on” Motley Rice’s actions. Id. at PageID #633159.

      Yet despite those findings and warnings, the District Court gave Motley Rice

a pass, concluding that the firm had not technically violated Rule 1.11(c) based on

the purportedly “unique facts of this case.” Id. at PageID #633143 (n.9). In reaching

that conclusion, the court (i) disregarded Rule 1.11(c)’s language and years of

authority interpreting the Rule, (ii) abandoned the court’s own earlier decision

applying the Rule to disqualify a defense lawyer in the MDL on far less egregious



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Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 14 of 46. PageID #: 635617




facts,3 (iii) purported to remedy Motley Rice’s ethical violations by ordering

OptumRx to produce into the MDL the documents that it had produced in the Motley

Rice-led government investigations, and (iv) distorted the record about the timing of

OptumRx’s motion.

      The District Court also hollowed out Rule 1.11(c)’s definition of “confidential

government information,” ruling that any information subject to civil discovery

cannot be “confidential government information.” Id. at PageID #633146. The

District Court did so in the face of a recent ABA opinion and numerous precedents

concluding otherwise. The court then purported to cleanse Motley Rice of its ethical

violations by ordering OptumRx to produce into the MDL all the documents that

OptumRx had produced in the Motley Rice-led government investigations. Id. at

PageID #633149; see also id. at PageID #633159 (“[W]ere it not for the standing

Repository obligations . . . , the Court’s discussion and analysis in this Order might

have been different.”). To our knowledge, no other court has tried to cleanse a law

firm’s ethical violations by ordering a party to produce discovery.

      In ruling as it did, the court did not just create a “Motley Rice” exception to

the ethics rules. Virtually any information or document that a government

investigator can gather with a subpoena—even a grand jury subpoena—is subject to



3
 In re Nat’l Prescription Opiate Litig., 2019 WL 1274555 (N.D. Ohio Mar. 20,
2019).

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Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 15 of 46. PageID #: 635618




civil discovery in private litigation. As a result, the District Court’s approach to Rule

1.11(c) would make the Rule a dead letter: The Rule would almost never prevent

government lawyers armed with information obtained through government service

from entering private practice and suing the targets of their government

investigations.4

      This Court should issue a writ of mandamus to undo the District Court’s

decision. The circumstances satisfy all three requirements for a writ:

      First, OptumRx has no other means for attaining relief. Waiting until after

final judgment to appeal would subject OptumRx to the ongoing prejudice of Motley

Rice’s involvement throughout the proceedings.

      Second, the District Court’s ruling is egregiously wrong and a clear abuse of

discretion. According to OptumRx’s experts below, including a member of the ABA

ethics committee that issued the recent ABA opinion, Motley Rice’s ethical

violations are not a “close call.” R.5300-2, PageID #628141; see also R.5341-2,

PageID #630306 (“There can be no more obvious violation of Rule 1.11(c) . . . .”).

Although the District Court purported to cabin its ruling to the “unique facts of this



4
 The District Court also justified its decision on the grounds that disqualifying
Motley Rice would “deprive all litigants that are suing PBMs of Motley Rice’s
considerable experience with complex litigation generally and this MDL
specifically.” Id. at PageID #633158. But Motley Rice is only one of more than a
dozen firms representing plaintiffs in MDL opioid cases against OptumRx, most or
all of whom have been involved in the opioid MDL alongside Motley Rice for years.

                                           6
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 16 of 46. PageID #: 635619




case” (id. at PageID #633143 (n.9)), the legal principle that it adopted would nullify

the Rule across all cases.

      Third, the issue is of great public importance. “‘Although a party’s right to

counsel of her choice is important, it is secondary in importance to preserving the

integrity of the judicial process, maintaining the public confidence in the legal

system and enforcing the ethical standards of professional conduct.’” Gordon v.

Dadante, 2009 WL 2732827, at *6 (N.D. Ohio Aug. 26, 2009) (collecting cases)

(citation omitted). “The paramount concern must be the preservation of public trust

both in the scrupulous administration of justice and in the integrity of the bar.” Id.

For that reason, a court should “not weigh the circumstances with hair-splitting

nicety but, in the proper exercise of its supervisory power over the members of the

bar and with a view of preventing the appearance of impropriety . . . resolve all

doubts in favor of disqualification.” Id. If left to continue, Motley Rice’s and other

law firms’ abuse of their partnerships with state and local governments will

undermine public confidence in both government investigations and the judicial

system. The District Court “frown[ed]” on that business model but did nothing to

stop it. R.5362, PageID #633159.

      OptumRx’s petition comes at a moment when others have begun sounding the

same alarm. The Wall Street Journal recently again decried the practice, explaining

that “[t]his double dipping would break the rules of professional conduct in nearly



                                          7
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 17 of 46. PageID #: 635620




any industry, but it’s an open scandal in the tort business.”5 Earlier this year, a former

Arizona Solicitor General used this case to highlight “the problem that arises when

government lawyers outsource enforcement to outside trial lawyers: ethics and

conflicts of interest.”6 And in March, the New York Times published an

investigation detailing ethical concerns about “powerful private lawyers who used

their political connections to go after millions of dollars in contingency fees” on

behalf of governments.7

                                     *      *      *

      Instead of resolving its doubts in favor of disqualification, the District Court

crafted an exception to Rule 1.11(c) that gives Motley Rice and other firms license

to continue practices long understood to violate the ethics rules. Worse, the District

Court’s order will encourage the very behavior that Rule 1.11(c) was designed to

prohibit—using government power for private gain. This Court should correct the

District Court’s manifest abuse of discretion and should confirm that government



5
  Editorial Board, Double Dipping in Opioid Lawsuits, Wall St. J. (Jan. 1, 2024),
https://www.wsj.com/articles/double-dipping-in-opioid-lawsuits-optumrx-motley-
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  O.H. Skinner, States Hiring Outside Lawyers Need to Ask Who Else They
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 Shalina Chatlani, Taxpayers Were Overcharged for Patient Meds. Then Came the
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                                            8
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 18 of 46. PageID #: 635621




lawyers may not use what they learn from government service to benefit themselves

or their private clients.

                              ISSUE PRESENTED

       Whether the Court should issue a writ of mandamus ordering the District

Court to disqualify Motley Rice and its attorneys from representing plaintiffs suing

OptumRx in the opioid MDL.

                                  STATEMENT

       OptumRx is a PBM. PBMs contract with health plans and third-party payers

to administer prescription drug benefits. PBMs were not involved in the first opioid

lawsuits that led to the formation of this MDL in December 2017. But in 2018 and

2019, some plaintiffs (not represented by Motley Rice) filed or amended complaints

to allege claims against certain PBMs, including OptumRx.

       In September 2018, Motley Rice (which had not yet sued OptumRx in opioid

litigation) began representing Chicago as “Special Assistant Corporation Counsel”

to investigate OptumRx relating to copay clawbacks. R.5320-4, PageID #629111.

As part of that investigation, Chicago issued an investigative subpoena to OptumRx

in November 2018, demanding information about various aspects of OptumRx’s

business, including contracts with pharmacies and certain clients. R.5276-16. Under

a confidentiality agreement—executed by Mimi Liu of Motley Rice as Chicago’s




                                         9
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 19 of 46. PageID #: 635622




Special   Assistant   Corporation   Counsel    (R.5276-17)—OptumRx         produced

confidential material to Motley Rice. R.5276-3.

      In December 2020, the District of Columbia appointed Motley Rice’s Linda

Singer to lead “the investigation of and possible litigation against” OptumRx for

possible violations of consumer protection laws and the False Claims Act.

R.5276-10. Motley Rice served an investigative subpoena on OptumRx regarding

“the negotiation of prescription drug rebates and the administration of prescription

drug benefits,” directing OptumRx to produce its confidential documents to Linda

Singer at Motley Rice. R.5276-11, PageID #625685. OptumRx again negotiated a

confidentiality agreement preventing Motley Rice from using the confidential

information that its lawyers obtained through the D.C. subpoena outside of the firm’s

work for D.C. R.5276-12, PageID #625700–625701 (¶ 2). OptumRx produced to

Motley Rice more than 68,000 pages of unredacted, commercially sensitive

documents and data. R.5276-13; R.5276-14; R.5276-15; R.5276-2, PageID

#625580–625581 (¶¶ 12–15); R.5276-4, PageID #625587 (¶¶ 7–9). Those

productions contained confidential documents covering wide swaths of OptumRx’s

business operations, including charters, policies, and other materials from

OptumRx’s business strategy and formulary placement committees as well as emails

relating to those and other aspects of OptumRx’s business. R.5276-2, PageID

#625579 (¶ 7); R.5276-4, PageID #625587 (¶¶ 7–8). They also included certain of



                                         10
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 20 of 46. PageID #: 635623




OptumRx’s rebate-related and transaction data. R.5276-13; R.5276-15; R.5276-2,

PageID #625580 (¶¶ 12, 14). Most of the information that OptumRx produced is not

available to the public and is among OptumRx’s most commercially sensitive

material. R.5276-2, PageID #625581 (¶ 15); R.5276-4, PageID #625587 (¶ 9).

      Then in April 2021, Motley Rice (which still did not represent any plaintiff in

an opioid lawsuit against OptumRx) accepted an appointment from the Hawaii

Attorney General to serve as a Special Deputy Attorney General. R.5276-5. Linda

Singer and Joe Rice signed the engagement agreement on Motley Rice’s behalf. Id.

In October 2021, the Hawaii Attorney General issued an investigative subpoena to

OptumRx demanding documents and communications relating to various aspects of

OptumRx’s business, including formulary development, rebate negotiations with

pharmaceutical manufacturers, and financial information relating to OptumRx’s

contractual relationships with pharmaceutical manufacturers. R.5276-6. The

subpoena directed OptumRx to deliver the documents to “Special Deputy Attorney

General Linda Singer, Motley Rice LLC.” Id. at PageID #625627.

      OptumRx again negotiated a confidentiality agreement prohibiting Motley

Rice from relying “on Confidential Material in pursuing information or claims in

any other matters outside of its representation of the [Hawaii] OAG.” R.5276-7,

PageID #625643–625644 (¶ 2). Relying on that agreement, OptumRx produced to

Motley Rice the 68,000 pages of unredacted, commercially sensitive documents that



                                        11
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 21 of 46. PageID #: 635624




it had produced to D.C., along with commercially sensitive data. R.5276-8;

R.5276-9; R.5276-2, PageID #625579–625580 (¶¶ 7–9); R.5276-4, PageID

#625587 (¶¶ 7–9).

      Until December 2022, Motley Rice had never sued OptumRx in opioid

litigation. But when it became clear that Motley Rice was representing opioid

plaintiffs in litigation against OptumRx, OptumRx promptly notified the District

Court that it intended to move to disqualify Motley Rice. R.5362, PageID #633137.

At a status conference in March 2023, the court agreed with OptumRx that any

disqualification motion should wait for a specific bellwether case. Id.

      In October 2023, the District Court identified four bellwether cases against

the PBMs, and Motley Rice and several other firms confirmed that they would lead

those representations. The theories that Motley Rice now presses against OptumRx

relate to many of the same aspects of OptumRx’s business that the firm investigated

as government lawyers. For instance, the City of Rochester alleges that the

formularies and clinical programs that OptumRx offered its clients should have

included additional limits on opioid prescriptions and that the PBMs have been

“colluding with Purdue Pharma and other opioid manufacturers to increase opioid

sales through favorable placement on national formularies in exchange for rebates

and fees.” R.5346-1, PageID #630364–630365 (¶ 3); see also, e.g., id. at PageID

#630365–630366, 630377, 630441 (¶¶ 4, 36, 252). The information that Motley



                                         12
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 22 of 46. PageID #: 635625




Rice obtained through its government investigations into OptumRx relates to, among

other things, OptumRx’s rebate negotiations with manufacturers and formulary

offerings to its clients.

       Consistent with the District Court’s scheduling order (R.5268), OptumRx

moved in December 2023 to disqualify Motley Rice from representing the

bellwether plaintiffs against OptumRx under Ohio Rule of Professional Conduct

1.11(c):

              Except as law may otherwise expressly permit, a lawyer
              having information that the lawyer knows is confidential
              government information about a person acquired when the
              lawyer was a public officer or employee, may not
              represent a private client whose interests are adverse to
              that person in a matter in which the information could be
              used to the material disadvantage of that person. As used
              in this rule, the term “confidential government
              information” means information that has been obtained
              under governmental authority and that, at the time this rule
              is applied, the government is prohibited by law from
              disclosing to the public or has a legal privilege not to
              disclose and that is not otherwise available to the public.

       The District Court held a hearing in February 2024. At the hearing, the court

expressed skepticism about Motley Rice’s arguments, particularly its arguments that

it had not served as public officers in the investigations and are not representing

private clients in the opioid MDL. E.g., R.5312, PageID #628212 (18:6–11) (“I can’t

understand why you [Motley Rice] don’t see that there is a difference between . . .

your firm’s work for these three entities and your work for all of your other clients,



                                          13
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 23 of 46. PageID #: 635626




and particularly the . . . four bellwether clients that you’re representing.”), PageID

#628200–628201 (6:25–7:1) (“no question that they [Motley Rice attorneys] were

performing public functions”), PageID #628210–628211 (16:11–13, 17:20–22)

(recognizing that Motley Rice served as a “public lawyer” for Hawaii and engaged

in a “standard private representation” in the bellwether litigations). After the hearing,

the court granted Motley Rice leave to file a sur-reply, which rehashed Motley Rice’s

earlier arguments. R.5320, R.5320-1.

      Shortly afterwards, the American Bar Association’s Standing Committee on

Ethics and Professional Responsibility issued Formal Opinion 509 discussing Model

Rule of Professional Conduct 1.11(c), which is largely identical to Ohio’s

Rule 1.11(c). See ABA Comm. on Ethics & Prof’l Resp., Formal Op. 509 (Feb. 28,

2024).8 In the opinion, the ABA Committee explained that private-practice attorneys

qualify as public officials when they accept “special” government appointments and

that public entities like the bellwether plaintiffs qualify as “private clients” when a

law firm represents them in private practice. Id. at 9–10. The Committee also

reiterated that information obtained by governments that “the government is legally

prohibited from disclosing to the public” qualifies as “confidential government

information” under the Rule:


8
 See R.5338-1; also available at https://www.americanbar.org/content/dam/aba/
administrative/professional_responsibility/ethics-opinions/aba-formal-opinion-
509.pdf.

                                           14
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 24 of 46. PageID #: 635627




              Rule 1.11(c) does not apply to all information obtained
              under government authority, but only to information that,
              at the time the Rule is applied, the government is legally
              prohibited from disclosing to the public or has a legal
              privilege not to disclose if the information is not otherwise
              publicly available. Whether government information is
              publicly available—e.g., whether it can be obtained
              through routine discovery—will be a question of fact. So
              is the question of whether the information “could be used
              to [the person’s] material disadvantage.”

Id. at 5 (footnotes omitted). As the Committee made clear in the opinion, whether

information “can be obtained through routine discovery” is about whether

information can be obtained by the public from the government, not from private

parties in civil litigation.

       Motley Rice filed a notice of supplemental authority, mischaracterizing the

language “can be obtained through routine discovery” to argue that the investigation

documents that OptumRx produced were not confidential government information

because Motley Rice could get them through civil discovery. R.5338, PageID

#630255. In response, OptumRx and its experts explained that the ABA’s opinion

confirms that the “routine discovery” language does not apply to information

produced under a protective order or confidentiality agreement. The experts

(including a member of the ABA Committee that issued the opinion) explained that

Motley Rice’s “interpretation would render the Rule meaningless” and that

“[r]outine discovery does not include information subject to a protective order, such

as proprietary or trade secret information, nor does it include information produced


                                           15
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 25 of 46. PageID #: 635628




pursuant to Confidentiality Agreements signed by government lawyers.” R.5341-2,

PageID #630310. They highlighted the many precedents favorably cited in the ABA

opinion in which courts disqualified lawyers even though the information obtained

as government lawyers could have been later obtained through civil discovery. Id. at

PageID #630310–630311.

      The District Court denied OptumRx’s motion.9 R.5362. In its order, the court

confirmed that Motley Rice acted as a public officer when it investigated OptumRx

on behalf of Hawaii, D.C., and Chicago and that the firm gained access to

information about OptumRx using government authority. The court also agreed that

Motley Rice is now representing the MDL bellwether plaintiffs as “private clients”

under the Rule. Id. at PageID #633141–633144. The District Court claimed to be

“very uncomfortable with the malleability of this quasi-government-employment

configuration” under which “Motley Rice attempts to act simultaneously as a public

employee and not a public employee, as fits its need.” Id. at PageID #633144.

      And yet despite all that, the District Court spared Motley Rice from

disqualification. Distorting the procedural history, the court faulted OptumRx for

not raising disqualification years ago—even though Motley Rice wasn’t

representing any opioid plaintiff against OptumRx until December 2022 at the


9
 OptumRx’s co-defendant Express Scripts joined OptumRx’s motion to disqualify,
but the District Court concluded that Express Scripts had joined too late. R.5351;
R.5362, Page ID #633131 n.1.

                                        16
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 26 of 46. PageID #: 635629




earliest and even though no party had raised the timing of OptumRx’s motion in

more than 100 pages of briefing or at the hearing. The court then misconstrued ABA

Formal Opinion 509 to conclude that the documents that OptumRx produced to

Motley Rice in the government investigations did not constitute “confidential

government information” under Rule 1.11(c) because they could be obtained

through “routine discovery” and should have been produced to all plaintiffs’ counsel

under two previous MDL discovery rulings—“DR-22” and “DR-2.” Id. at PageID

#633148–633149.

                            STANDARD OF REVIEW

      The Court “may exercise its power to issue [a] writ” if it finds that the District

Court committed a “clear abuse of discretion.” Cheney v. United States Dist. Ct. for

D.C., 542 U.S. 367, 380 (2004) (quoting Bankers Life & Cas. Co. v. Holland, 346

U.S. 379, 383 (1953)). To obtain a writ, a party must satisfy three conditions: (1) the

party “[must] have no other adequate means to attain the relief he desires,” (2) the

party must show “that [his] right to issuance of the writ is ‘clear and indisputable,’”

and (3) the issuing court “must be satisfied that the writ is appropriate under the

circumstances.” Id. at 380–81 (brackets in original) (citations omitted).

      Although disqualification motions are reviewed generally for an abuse of

discretion, this Court reviews de novo a district court’s interpretation of an ethical

rule. Gen. Mill Supply Co. v. SCA Servs., Inc., 697 F.2d 704, 711 (6th Cir. 1982)



                                          17
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 27 of 46. PageID #: 635630




(holding in disqualification case that it is “appropriate to attack the ethical problem

de novo rather than as review of a discretionary decision”); accord In re Dresser

Indus., Inc., 972 F.2d 540, 543 (5th Cir. 1992). It reviews the district court’s findings

of fact for clear error. Dana Corp. v. Blue Cross & Blue Shield Mut. of N. Ohio, 900

F.2d 882, 889 (6th Cir. 1990). Because “[t]he paramount concern must be the

preservation of public trust both in the scrupulous administration of justice and in

the integrity of the bar,” a court should “not weigh the circumstances with hair-

splitting nicety but, in the proper exercise of its supervisory power over the members

of the bar and with a view of preventing the appearance of impropriety . . . resolve

all doubts in favor of disqualification.” Gordon, 2009 WL 2732827, at *6.

      The Supreme Court has confirmed that a party may seek relief from an

erroneous ruling on a motion to disqualify counsel through a writ of mandamus.

Richardson-Merrell, Inc. v. Koller, 472 U.S. 424, 435 (1985) (citing Firestone Tire

& Rubber Co. v. Risjord, 449 U.S. 368, 378 n.13 (1981)). Circuit courts agree that

Koller “recognize[d] that a writ of mandamus . . . remains a proper means to

consider an attorney disqualification order on an interlocutory basis.” In re Am.

Cable Publ’ns, Inc., 768 F.2d 1194, 1195 (10th Cir. 1985); accord In re Mechem,

880 F.2d 872, 874 (6th Cir. 1989); In re Am. Airlines, Inc., 972 F.2d 605, 608 (5th

Cir. 1992).




                                           18
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 28 of 46. PageID #: 635631




       In re American Airlines illustrates the principle. There, the Fifth Circuit issued

a writ of mandamus requiring disqualification of counsel on less egregious facts than

exist here. The appellate court agreed that the petitioner had “demonstrated the

absence of an adequate alternative to mandamus review.” 972 F.2d at 609. The court

explained that “the nature and size of this litigation would seem to preclude effective

appellate review upon final judgment.” Id. The court also agreed that the dispute

“raise[d] several questions pertaining to the proper interpretation of ethical standards

in disqualification cases” and that “attorneys and clients throughout [the state] need

the benefit of this Court’s guidance on this issue of grave importance.” Id. The court

also reasoned that review was appropriate because the disqualification issue “was

not a mere discretionary one but rather turns on legal questions appropriate for

appellate review.” Id. (citation omitted). The court held that the petitioner’s right to

reversal was clear and indisputable and “therefore issue[d] a writ of mandamus

directing the district court to vacate its order.” Id. at 628; see also In re Am. Cable,

768 F.2d at 1195 (granting mandamus writ to disqualify counsel).

                     REASONS THE WRIT SHOULD ISSUE

       This Court should issue a writ of mandamus because the District Court’s order

refusing to disqualify Motley Rice renders Rule 1.11(c) a nullity and encourages

government lawyers to exploit their government service to benefit themselves and

their private clients.



                                           19
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 29 of 46. PageID #: 635632




I.    OPTUMRX HAS NO OTHER MEANS FOR OBTAINING RELIEF
      FROM THE DISTRICT COURT’S EGREGIOUSLY WRONG
      DECISION.

      Unless this Court grants the writ now, OptumRx’s “opportunity for

meaningful review will perish.” Firestone Tire, 449 U.S. at 377. For years, Motley

Rice has had access to confidential information about OptumRx that the firm

collected through its government service. If Motley Rice continues representing

opioid plaintiffs against OptumRx in the MDL, it can drive the litigation strategy

against OptumRx with that confidential information as a roadmap. And the cases

have only just begun. The District Court selected the PBM bellwethers in October

2023. Motions to dismiss are pending, and discovery is in its early stages. With most

of the litigation still to come, the specter of Motley Rice’s continued unethical

conduct looms large.

      If this Court does not grant relief now, it will be never. OptumRx will have no

meaningful remedy after a final appeal because the only way to cleanse the

proceedings of Motley Rice’s involvement would be to order the parties to start the

litigation over from the beginning. But in such a sprawling case, a do-over would be

virtually impossible.




                                         20
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 30 of 46. PageID #: 635633




II.   OPTUMRX’S RIGHT               TO    THE      WRIT      IS   CLEAR       AND
      INDISPUTABLE.

      In denying OptumRx’s motion, the District Court crafted an exception to Rule

1.11(c) that undermines the Rule—all to avoid disqualifying Motley Rice.

OptumRx’s right to the writ is “clear and indisputable.” Cheney, 542 U.S. at 381.

      A.    The District Court nullified Rule 1.11(c).

      The District Court correctly held that Motley Rice was a “public officer”

under Rule 1.11(c) when it investigated OptumRx on behalf of Hawaii, D.C., and

Chicago and that the bellwether plaintiffs in this MDL are Motley Rice’s “private

clients” under Rule 1.11(c). R.5362, PageID #633141–633144. But it erred when it

concluded that the documents that OptumRx produced to Motley Rice in the

government investigations did not qualify as “confidential government information”

because they could be obtained through “routine discovery” in the MDL. Id. at

PageID #633148–633149. The court also erred when it concluded that Motley Rice

could not use the information to OptumRx’s material disadvantage in the MDL

because—under the court’s rewriting of its previous discovery orders—OptumRx

should have produced those documents to all plaintiffs’ counsel immediately after

producing them to Motley Rice in the investigations. Id. at PageID #633149. Those

holdings create an exception that swallows Rule 1.11(c) and flies in the face of the

Rule’s text and purpose—preventing government lawyers from using confidential




                                         21
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 31 of 46. PageID #: 635634




information gained through their government service for their or their private clients’

gain.

              1.    Through its government investigations, Motley Rice received
                    confidential government information about OptumRx.

        Rule 1.11(c) defines “confidential government information” as “information

that has been obtained under governmental authority and that, at the time this rule is

applied, the government is prohibited by law from disclosing to the public or has a

legal privilege not to disclose and that is not otherwise available to the public.” The

information that Motley Rice gathered by investigating OptumRx is confidential

government information under Rule 1.11(c) because each “government is prohibited

by law from disclosing [it] to the public” and the information “is not otherwise

available to the public.”10 Ohio R. Prof’l Conduct 1.11(c).

        First, each jurisdiction is prohibited by law and confidentiality agreements

from disclosing to the public the information and documents OptumRx produced in

the Motley Rice investigations. E.g., Haw. Rev. Stat. § 480-18(j); D.C. Code

§ 2-534(a)(1); 5 Ill. Comp. Stat. 140/7(g). For example, the Hawaii confidentiality

agreement limits Motley Rice’s disclosure of confidential information to certain

state and Motley Rice employees (R.5276-7, PageID #625644–625646 (¶ 4)) and



10
  As the District Court acknowledged, the information was also obtained “pursuant
to governmental authority.” R.5362, PageID #633142; see Ohio R. Prof’l Conduct
1.11(c).

                                          22
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 32 of 46. PageID #: 635635




requires that they use that information “solely in connection with the Investigation

and any litigation that may arise therefrom” (id. at PageID #625643–625644 (¶ 2)).

It also prohibits the use of the information “in connection with any other matter” and

the disclosure of the information “to any party or the public.” Id. Motley Rice also

agreed “not to rely on Confidential Information in pursuing information or claims in

any other matters outside of its representation of the State.” Id. The D.C. and

Chicago agreements include similar language. R.5276-12, PageID #625701–

625703, 625704–625705 (¶¶ 4, 8–10); R.5276-17, PageID #625735–625737,

625738–625739 (¶¶ 3–4, 9, 11).

      Second, the documents and information produced are not “otherwise available

to the public.” Ohio R. Prof’l Conduct 1.11(c). In response to various government

subpoenas, OptumRx produced—directly to Motley Rice—a wide range of

proprietary and competitively sensitive information that is not publicly available,

including information about its formulary development, business strategies,

negotiations, and rebate agreements with pharmaceutical manufacturers, and closely

guarded financial data. The documents that OptumRx produced are “confidential

internal or commercially sensitive documents” that “cover[] various aspect of

OptumRx’s business operations.” R.5300-1, PageID #628122 (¶ 14). They are

“highly confidential and commercially sensitive to OptumRx and are not available

to the public.” Id. at PageID #628128 (¶ 16). That is precisely the kind of information



                                          23
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 33 of 46. PageID #: 635636




that Rule 1.11(c) covers. E.g., R.5276-18, PageID #625767–625775; United States

v. Villaspring Health Care Ctr., Inc., 2011 WL 5330790, at *6 (E.D. Ky. Nov. 7,

2011) (disqualifying lawyer under Kentucky’s identical Rule 1.11(c) because

“strategic insights, such as [the disqualified lawyer’s] knowledge of the strengths

and weaknesses of the evidence compiled against [the investigated company],”

constituted confidential government information).

      Ignoring Rule 1.11(c)’s text and those facts, the District Court turned ABA

Formal Opinion 509 on its head to absolve Motley Rice from its continuing ethical

violations. In that opinion, the ABA explained that “[w]hether government

information is publicly available—e.g., whether it can be obtained through routine

discovery—will be a question of fact.” ABA Formal Op. 509 at 4. Cherry-picking

two words (“routine discovery”), the District Court ruled that any information

subject to civil discovery does not qualify as confidential government information.

That was clear error. The ABA was referring to whether information can be obtained

by the public from the government, not from private parties in civil litigation.

      In its opinion, the ABA explained that the “conceptualization of ‘confidential

government information’ [in Rule 1.11(c)] is analogous to the definition of

‘nonpublic information’ in 5 C.F.R. § 2635.703(b),” which “defines ‘nonpublic

information’ as information that an employee obtains due to Federal employment

and that he knows or reasonably should know: ‘(1) Is routinely exempt from



                                          24
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 34 of 46. PageID #: 635637




disclosure under 5 U.S.C. 552 [FOIA] or is protected from disclosure by statute,

Executive order or regulation; (2) Is designated as confidential by an agency; or

(3) has not actually been disseminated to the general public and is not authorized to

be made available to the public on request.’” ABA Formal Op. at 4 n.13. It is

undisputed that the information that OptumRx produced to Motley Rice is exempt

from FOIA disclosure and that the confidentiality agreements prohibit Motley Rice

from making the information public.

      Beyond that, the word “routine” does not encompass documents produced

under a protective order or confidentiality agreement. Rather, it means generally

available to the public and not subject to confidential treatment.11 Under the District

Court’s reading, “routine discovery” would encompass everything—save perhaps

the nuclear codes—and the District Court never explained what would qualify as

“non-routine” discovery. Since everything would be “available to the public” under

the District Court’s reading of Rule 1.11(c), nothing would be confidential

government information. Government attorneys (and not just specially appointed

ones) could investigate any party they choose and later sue those parties on behalf



11
  Of course, documents are not “public” simply because they are produced in civil
discovery. See, e.g., Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984)
(materials obtained through civil discovery are not “a traditionally public source of
information”); Courier-Journal v. Marshall, 828 F.2d 361, 364 (6th Cir. 1987)
(“pretrial discovery . . . ordinarily proceeds as a private interchange between the
parties, the fruits of which are not presumptively public”).

                                          25
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 35 of 46. PageID #: 635638




of private clients. They could cite the District Court’s opinion to argue that there is

no Rule 1.11(c) violation because all the information they received while working

for the government—and the legal strategies they developed with that information

in hand—is subject to “routine discovery” in civil litigation.

      That is not what Rule 1.11(c) or Formal Opinion 509 says. The Rule contains

no “civil discovery” exception, and in its opinion, the ABA cited to numerous cases

in which courts have disqualified counsel for having access to information that

parties could obtain through discovery. E.g., id. at 4 n.8–9, 5 n.11–12, 5 n.14, 6 n.15,

7 n.25, 9 n.27; see Villaspring, 2011 WL 5330790, at *6 (“strategic insights” from

“interviewing [the] facility’s former employees”); Kronberg v. LaRouche, 2010 WL

1443934, at *4 (E.D. Va. Apr. 9, 2010) (“structure” of the business and “the role of

other individuals” who worked for the business); N.Y. State Bar Ass’n Comm. on

Prof’l Ethics Op. 1187 (2020) (“information [a lawyer, also a police officer,]

acquired that was non-public employment reviews of non-public discipline of police

officers”); N.Y. State Bar Ass’n Comm. on Prof’l Ethics Op. 1169 (2019)

(“information [a government lawyer] acquired as a Town Supervisor”); Neb. Ethics

Advisory Op. for Lawyers No. 22-01 (“information [a government lawyer acquired]

from a state-run database with information about individuals’ financial status and

past earnings”). Indeed, earlier in the MDL, the District Court disqualified a

defendant’s lawyer who, in former government service, had access to “information



                                          26
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 36 of 46. PageID #: 635639




concern[ing] the inadequate staffing levels, funding deficiencies, strategies,

initiatives, operations, and allocation of resources”—all information that would have

been obtainable through civil discovery. In re Nat’l Prescription Opiate Litig., 2019

WL 1274555, at *4–5.

      As OptumRx’s experts explained, the District Court’s approach to Rule

1.11(c)—urged by Motley Rice below—“would render the Rule meaningless”

because “recipients of investigatory subpoenas would have no protection from that

sort of government overreach if government lawyers could simply avoid Rule

1.11(c) altogether by merely requesting the information through discovery in a later

case.” R.5341-2, PageID #630312. In plain terms, the legal principle that the District

Court adopted—that information obtained by government lawyers does not satisfy

Rule 1.11(c) if it could later be (re)obtained in civil discovery—would eliminate a

longstanding safeguard against abuse of government power.12




12
  The District Court also ignored other confidential information about OptumRx
that Motley Rice gathered, focusing only on specific documents that OptumRx had
produced. OptumRx wasn’t the only subpoena recipient in those investigations.
R.5288, PageID #626066; R.5288-4, PageID #626673 (¶ 18). Any other confidential
information about OptumRx that Motley Rice obtained or created during its
investigations qualifies as confidential government information under the Rule. The
District Court said nothing about any of that.

                                         27
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 37 of 46. PageID #: 635640




             2.     Motley Rice could use the information to OptumRx’s
                    material disadvantage.

      Motley Rice did what few government lawyers would consider doing: It began

representing private plaintiffs in lawsuits against the very parties it had investigated

using government power—and on related issues. Under Rule 1.11(c), the question

is whether the information that Motley Rice obtained as government lawyers “could

be used to the material disadvantage of [OptumRx].” Given the overlap between the

bellwether plaintiffs’ claims and the confidential government information that

Motley Rice received, the answer is yes—and obviously so.

      The produced information includes thousands of documents that describe

OptumRx’s work relating to opioids and opioid manufacturers, such as rebate

agreements with manufacturers, documents relating to OptumRx’s formulary

development, and detailed rebate data relating to opioid manufacturers. R.5300-1,

PageID #628121–628122 (¶ 13); R.5276-2, PageID #625579–625581 (¶¶ 7–9, 12–

15); R.5276-3, PageID #625583 (¶¶ 7–8); R.5276-4, PageID #625587 (¶¶ 7–9). It

also includes a wide range of documents (not specific to a particular drug) that

provide insight into how OptumRx’s business operates, such as emails from

OptumRx employees’ rebate negotiations with drug manufacturers, slide decks

analyzing OptumRx’s rebate initiatives and organization goals, and documents

outlining OptumRx’s pricing strategies and approach to contracting with

manufacturers. R.5300-1, PageID #628122–628128 (¶ 15).


                                          28
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 38 of 46. PageID #: 635641




      Those documents gave Motley Rice special access to information about the

very aspects of OptumRx’s business that Motley Rice now challenges for the

bellwether plaintiffs. They allege that OptumRx colluded with drug manufacturers

to “flood the market” with opioids because drug manufacturers paid rebates to

OptumRx in exchange for favorable placement of their opioids on OptumRx’s

formularies. Armed with OptumRx’s confidential information, Motley Rice can

litigate those theories with a roadmap that the firm would not have but for its role in

investigating OptumRx as government attorneys. Motley Rice can develop legal

theories, craft search terms, shape discovery requests, identify custodians and

witnesses, and drive expert strategy.

             3.     Even the District Court suggested that without its erroneous
                    “discovery” exception to Rule 1.11(c), Motley Rice should be
                    disqualified.

      The District Court acknowledged that but for its decision to require OptumRx

to produce into the MDL the documents it produced in the Motley Rice-led

government investigations, it might have reached a different outcome: “[W]ere it not

for the standing Repository obligations . . . , the Court’s discussion and analysis in

this Order might have been different.” R.5362, PageID #633159. That proves the

court’s abuse of discretion. Rule 1.11(c) has never turned on what future discovery

in civil litigation might look like. In concluding otherwise, the District Court

jettisoned the Rule.



                                          29
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 39 of 46. PageID #: 635642




      B.      The District Court’s ruling bears other marks of an abuse of
              discretion.

      Other aspects of the District Court’s order confirm the court’s abuse of

discretion.

      First, the court ignored the long-standing body of case law showing that

Motley Rice’s conduct violates Rule 1.11(c) and instead seized on an unpublished,

rarely cited, and easily distinguishable opinion from the Southern District of Florida.

R.5362, PageID #633147 (citing Davis v. S. Bell Tel. & Tel. Co., 149 F.R.D. 666,

674 (S.D. Fla. 1993)). The court did not discuss or even mention General Motors

Corp. v. City of New York, 501 F.2d 639 (2d Cir. 1974), Allied Realty of St. Paul,

Inc. v. Exchange National Bank of Chicago, 283 F. Supp. 464 (D. Minn. 1968), or

Hilo Metals Co. v. Learner Co., 258 F. Supp. 23 (D. Haw. 1966)—all of which

explain the ethical problems that arise when government lawyers attempt to leverage

their knowledge in related private litigation.

      Second, the District Court improperly “weigh[ed]” the timing of OptumRx’s

motion, suggesting that OptumRx should have raised its disqualification motion as

early as 2018. R.5362, PageID #633138–633140. But Motley Rice did not make that

argument in briefing or at oral argument. And for good reason: It did not represent

any MDL plaintiff suing OptumRx until December 2022 at the earliest. Before then,

there was no case in which OptumRx could have sought Motley Rice’s

disqualification. For all OptumRx knew, Motley Rice intended to comply with its


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Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 40 of 46. PageID #: 635643




ethical obligations and the confidentiality agreements that it signed. When it became

clear that Motley Rice intended to litigate against OptumRx in the opioid MDL

(notwithstanding Rule 1.11(c) and the signed confidentiality agreements), OptumRx

promptly raised the ethical issue to the District Court. The District Court clearly

abused its discretion by considering a supposed timing concern that no party raised

and that had no factual basis in the record.

      Third, the District Court improperly considered yet another irrelevant issue—

OptumRx’s document production obligations in the MDL. In concluding that

OptumRx could not be materially disadvantaged by Motley Rice’s continued

representation of opioid plaintiffs in the MDL, the District Court cited its own

“broad” discovery rulings, which it explained were “important procedures to

promote the coordination and consolidation of the[] knotty cases” in the MDL—

suggesting an “MDL exception” to the ethics rules. Id. at PageID #633149–633153.

But those earlier discovery rulings—which are highly irregular even on their own

terms—require reproduction into the MDL only of documents previously produced

in any “government investigation . . . regarding the marketing, sales, distribution or

dispensing of Opioids.” R.2576, PageID #412971 (emphasis added). In other words,

the obligation covers only documents produced in “opioid-related” investigations

(R.3291, PageID #493105) or in an “opioid-related forum” (R.3699, PageID

#510922). Motley Rice conceded that the Hawaii, D.C., and Chicago investigations



                                          31
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 41 of 46. PageID #: 635644




were not opioid related even as OptumRx produced information about opioids,

insulin, and other drugs. R.5300, PageID #628109–628110; R.5341, PageID

#630291–630293. The District Court nevertheless retroactively expanded its rulings

to cover all opioid-related materials no matter how untethered the underlying

proceeding or investigation is to opioids. R.5362, PageID #633149–633155. That

the District Court saved Motley Rice by forcing OptumRx to produce discovery in

the MDL is remarkable. No court has ever done that before.13

III.   THE WRIT IS VITAL TO PRESERVING A LONGSTANDING
       CHECK ON THE ABUSE OF GOVERNMENT POWER.

       A writ of mandamus requiring disqualification of Motley Rice is not merely

“appropriate under the circumstances.” Cheney, 542 U.S. at 381. It is crucial to

preserving the continued vitality of a longstanding ethical rule that protects litigants

from exploitation by government lawyers.

       Mandamus relief is appropriate “for questions of unusual importance

necessary to the economical and efficient administration of justice or important

issues of first impression.” In re United States, 32 F.4th 584, 597 (6th Cir. 2022)

(citation omitted). It is difficult to imagine a question of more “unusual importance”



13
  OptumRx was not in active litigation in the MDL until late 2022 and was not party
to the proceedings that yielded the discovery rulings in question. But even if it had
been, Motley Rice received confidential government information from OptumRx
before OptumRx could have ever produced the same information in the MDL. The
District Court ignored that reality.

                                          32
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 42 of 46. PageID #: 635645




to the administration of justice than whether the ethical rules permit Motley Rice’s

conduct.

      Motley Rice’s violation of Rule 1.11(c) is not a mere foot fault; it is central to

the firm’s business model. Motley Rice’s website touts the firm’s role as both an

investigator and private plaintiff, advertising that its “Public Client practice is

dedicated to supporting public entities in investigations and litigation” and has “the

resources and experience in complex litigation and resolutions to assist government

lawyers.”14 In the wake of the District Court’s holding that Motley Rice is a “public

officer” when appointed by state attorneys general but represents “private clients” in

its private practice, Joe Rice commented that Motley Rice would “have to make

adjustments” to its practice and “discuss it with [its] ethics advisers and . . . with

AGs.”15

      Mandamus is also appropriate “to further supervisory and instructional goals,

and where issues are unsettled and important.” United States v. Bertoli, 994 F.2d

1002, 1014 (3d Cir. 1993). Guidance like the Second Circuit provided years ago in

General Motors is needed here. There, the Second Circuit reversed a district court



14
   Public Client Litigation Area, Motley Rice, https://www.motleyrice.com/public-
client (last visited Apr. 10, 2024).
15
  Alison Frankel, Opioids Judge Won’t Oust Motley Rice But Casts Cloud Over
‘Public Client’ Business, Reuters (Mar. 19, 2024), https://www.reuters.com/
legal/government/column-opioids-judge-wont-oust-motley-rice-casts-cloud-over-
public-client-2024-03-19/.

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Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 43 of 46. PageID #: 635646




and disqualified a plaintiffs’ lawyer in a contingency-fee antitrust suit by the City of

New York against General Motors because the lawyer had previously investigated

GM in similar matters as a DOJ attorney. 501 F.2d at 648–52. Writing for the court,

Judge Kaufman rejected the argument that disqualification was unnecessary because

the lawyer remained on the same side of the matter: “[T]here lurks great potential

for lucrative returns in following into private practice the course already charted with

the aid of governmental resources.” Id. at 650.

      Judge Kaufman’s wisdom applies with the same force today as it did fifty

years ago. Indeed, it underpins Rule 1.11(c). The District Court’s decision would

confine that wisdom to the dustbin of history. This Court should prevent that result.

                                   CONCLUSION

      The Court should grant the writ and order the District Court to disqualify

Motley Rice and its attorneys from participating in any pending or future MDL

opioid cases involving OptumRx.

May 7, 2024.

                               Respectfully submitted,

                                         /s/ Brian D. Boone
                                        Brian D. Boone
                                        ALSTON & BIRD LLP
                                        Vantage South End
                                        1120 South Tryon Street, Suite 300
                                        Charlotte, NC 28203
                                        Tel.: (704) 444-1000
                                        brian.boone@alston.com


                                          34
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 44 of 46. PageID #: 635647




                                   William H. Jordan
                                   D. Andrew Hatchett
                                   ALSTON & BIRD LLP
                                   One Atlantic Center
                                   1201 West Peachtree Street NW, Suite 4900
                                   Atlanta, GA 30309
                                   Tel.: (404) 881-7000
                                   bill.jordan@alston.com
                                   andrew.hatchett@alston.com

                                   Attorneys for Petitioner-Defendant
                                   OptumRx, Inc.




                                     35
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 45 of 46. PageID #: 635648




                     CERTIFICATE OF COMPLIANCE

      This petition complies with the type-volume limitations of Fed. R. App. P.

21(d)(1) because it contains fewer than 7,800 words, excluding the accompanying

documents required by Rule 21(a)(2)(C).

      This petition complies with the requirements of Fed. R. App. P. 32(c)(2) and

Fed. R. App. P. 32(a) because it has been prepared using Microsoft Word for

Microsoft 365 in Times New Roman, 14-point font.



                                      /s/ Brian D. Boone
                                     Brian D. Boone




                                       36
Case: 1:17-md-02804-DAP Doc #: 5431 Filed: 05/08/24 46 of 46. PageID #: 635649




                         CERTIFICATE OF SERVICE

      I hereby certify that on May 7, 2024, the foregoing was filed electronically

with the Clerk of Court using the Court’s CM/ECF system.

      I further certify that on May 7, 2024, a copy of the foregoing was served upon

the District Court and on Plaintiffs’ Counsel by email. A paper copy will be mailed

to the District Court on May 7, 2024.



                                         /s/ Brian D. Boone
                                        Brian D. Boone




                                         37
